Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 1 of 21 PageID 10086




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

  NUVASIVE, INC.,                   )
                                    )
            Plaintiff,              )
                                    )
  v.                                ) Case No. 6:17-cv-2206-Orl-41GJK
                                    )
  ABSOLUTE MEDICAL, LLC,            )
  ABSOLUTE MEDICAL SYSTEMS,         )
  LLC, GREG SOUFLERIS, DAVE         )
  HAWLEY, and RYAN MILLER,          )
                                    )
            Defendants,             )
  _________________________________ )

  NUVASIVE, INC.’S MOTION TO VACATE ARBITRATION AWARD AND
               SUPPORTING MEMORANDUM OF LAW

           Through its counsel of record, and pursuant to 9 U.S.C. § 10, Plaintiff,

  NuVasive, Inc. (“NuVasive”), respectfully moves this Court to vacate the March 4,

  2021, arbitration award (the “Arbitration Award”) issued in NuVasive, Inc. v.

  Absolute Medical, LLC, AAA Case No. 01-19-0002-0663 (the “Arbitration”)

  because it was procured by corruption, fraud, and/or undue means. In support of its

  Motion, NuVasive states:

                               I.    INTRODUCTION

           Defendant, Absolute Medical Systems, LLC, procured the March 4, 2021,

  Arbitration Award through corruption, fraud, or undue means. 9 U.S.C. § 10. More

  specifically, Absolute Medical’s sole member, Defendant Greg Soufleris, via text,


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Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 2 of 21 PageID 10087




  instructed its sales representative, Defendant Dave Hawley on how to answer

  questions NuVasive asked Hawley during the Arbitration as Hawley testified.

  NuVasive did not know – and had no way of knowing – of Defendants’ malfeasance

  in the Arbitration until Soufleris produced various iMessage threads on November

  4, 2021—70 days after this Court ordered him to do so.

                                   II.    RELEVANT FACTS

           1.      NuVasive and Absolute Medical arbitrated Count II of NuVasive’s

  Second Amended Complaint, as ordered by this Court (Doc. 178), remotely, via

  Zoom, between December 14 and 17, 2020. Hawley testified in the Arbitration on

  the evening of December 16, 2020, from the Orlando, Florida, metropolitan area.

  (Decl. C. Cardwell, attached as Exhibit 1, ¶ 6).

           2.      During Hawley’s testimony, Soufleris – who was in his counsel’s

  Atlanta, Georgia office (id. at ¶ 5) – heard the questions NuVasive asked of him and,

  in real time, instructed Hawley how to answer several of those questions via

  iMessage.

           3.      At 6:17 p.m. EST on December 16, 2020, shortly before Hawley took

  the stand in the Arbitration, Soufleris texted                          . (iMessages between

  Soufleris and Hawley, attached as Exhibit 2).1 Hawley responded that he would do

  so through an iMessage he sent to Soufleris one minute later, at 6:18 p.m.


  1
      The Court granted leave to file the iMessages under seal on November 17, 2021. (Doc. 349).

                                                   2
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 3 of 21 PageID 10088




           4.    Hawley’s testimony began at 6:24 p.m. Just before that testimony

  began, at 6:23 p.m., Hawley took the following two-part oath:

           Q:    Would you raise your right hand, please. Do you swear or affirm
                 that the evidence you’re about to give will be the truth, the whole
                 truth, and nothing but the truth?

           A:    Yes, sir.

           Q:    Second part. Do you also affirm that there is no one else in the
                 room with you who is not identified and that no unauthorized
                 person can communicate with you while you are giving your
                 testimony?

           A:    Yes, sir.2

  (Arb. Tr., Hawley Test., attached as Exhibit 3, 754:20–755:4).

           5.    The December 16, 2020, text exchange between Soufleris and Hawley

  reads:

           15:13 DH:

           15:26 GS:
                                              ***

           17:44 GS:




  2
    After receiving the November 4, 2021, production NuVasive ordered a copy of the arbitration
  transcript that contains the oath given by Hawley and time stamps. (Dec. C. Cardwell, Exhibit 1,
  ¶ 4). NuVasive notes that the time stamps on the transcript are in PST as the Arbitration Panel and
  the court reporter transcribing the arbitration remotely were located in California. As such, the
  transcript time stamp of “15:23:17” when Arbitrator John L’Estrange administered this oath is
  three (3) hours behind the time stamps on the iMessages, which are EST. (Dec. R. Clayton,
  attached as Exhibit 4).

                                                  3
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 4 of 21 PageID 10089




                                    ***

        17:45 DH:
                                    ***

        18:17 GS:

        18:18 DH:

        18:24 GS:

        18:26 GS:

        18:27 GS:

        18:28 GS:

        18:28 GS:

        18:30 GS:

        18:33 GS:

        18:47 GS:

        18:47 GS:

        18:51 GS:

        18:52 GS:

        18:52 GS:

        18:52 GS:

        18:55 GS:

        19:14 GS:

        19:23 GS:

                                       4
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 5 of 21 PageID 10090




        19:38 GS:

        20:10 GS:

        20:11 GS:

        20:12 GS:

  (iMessages, Exhibit 2).

        6.     The iMessage                                    came at 6:24 p.m. and the

  iMessage              came at 8:12 p.m. (Id.) These iMessages – and the ones in

  between – are consistent with answers Hawley gave in response to NuVasive’s

  questions. Further, Hawley admitted that one of his answers that was consistent with

  a iMessage “doesn’t make[] sense” and that another differed from his sworn

  deposition testimony. (Arb. Tr., Exhibit 3 at 818:10–821:15, 830:17–831:5).

        7.     NuVasive’s first line of questioning, which began at 6:24, addressed

  non-compete agreements Hawley signed with Absolute. (Id. at 755:11–756:17). As

  shown above, at 6:24, Soufleris texted                                      to Hawley. It

  appears that this text caused Hawley to change his testimony as he initially

  acknowledged signing several non-compete agreements but then, after NuVasive

  began posing another question, modified his answer to say that he signed them on

  behalf of his corporate entity. Specifically, he testified, at 6:25 that:

        Q:     In fact, you signed numerous noncompetes with Absolute
               Medical, correct?


                                              5
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 6 of 21 PageID 10091




        A:     Over the years, yes.

        Q:     Now, I want to go back - -

        A:     On behalf of Hawley Med.

  (Id. at 756:13–17).

        8.     Soufleris sent the next iMessage – which simply states          – at 6:26.

  At that time, NuVasive was questioning Hawley about when a commission is earned:

  a topic relevant to the Arbitration because Hawley and Soufleris challenged the

  definition of a “sale.” Hawley testified, at 6:26:

        Q:     By the way you get a commission when you make a sale; is that
               correct?

        A:     You get a commission when a product is used in the OR by a
               surgeon, yes.

        Q:     That’s a sale, right?

        A:     Yeah, it’s up for interpretation, but the surgeon uses the product,
               and we get a commission on it.

  (Id. at 757:5-12).

        9.     The next three iMessages came at 6:27 and two at 6:28. The first states

  “Culture was sh*t[,]” the second reads

          and the third reads                                               At this time,

  NuVasive was questioning Hawley about NuVasive’s culture and senior leadership,

  which are things the Defendants cite for their and Dr. Sawin’s decision to end their

  affiliations with NuVasive. (Id. at 797:3–798:23). The relevant testimony took place

                                            6
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 7 of 21 PageID 10092




  between 6:27 and 6:30. (Id. at 758:3–760:4). It concluded with Hawley talking about

  past members of NuVasive’s senior management leaving the company, and

  classifying emails in which he lauded members of NuVasive’s senior management

  and NuVasive’s culture as “clearly one of those kind of political emails where I’m,

  you know, trying to get on the good side of the CEO of the company that I’m working

  for” at 6:30. (Id. at 759:12–760:4). At that time, Soufleris texted

  to Hawley. Three minutes later, at 6:33, Soufleris reiterated that message as he

  “loved” that text.

         10.    The next text, which reads

  came at 6:47,3 just after NuVasive showed Hawley an email he sent to Soufleris. At

  6:46, Hawley identified this email as his “resignation email” and then acknowledged

  that “it says, hello, Absolute Medical. Effective immediately I hereby terminate my

  contract with Absolute Medical.” (Id. at 771:11–22). This area of questioning was

  relevant to whether Hawley remained affiliated with Absolute after it separated from

  NuVasive and whether Hawley qualified as a Representative Affiliate of Absolute

  in his individual capacity.

         11.    Next, at 6:51, Soufleris texted “             to Hawley. This text coincides

  with testimony Hawley gave between 6:50 and 6:51 about whether Alphatec had a


  3
    Soufleris also texted                   ” to Hawley at 6:47. NuVasive is not certain as to what
  Soufleris meant by that text, but believes it had to do with the number of surgeries performed by
  Dr. Sawin on December 5, 2017, that Hawley supported. (Arb. Tr., Exhibit 3, at 771:23–772:6).


                                                 7
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 8 of 21 PageID 10093




  “full bag of products” and the necessity of obtaining other products to satisfy Dr.

  Sawin’s surgical needs. (Id. at 774:12–19).

        12.    At 6:52, Soufleris texted,                               and

  to Hawley in separate messages. These iMessages are relevant to testimony Hawley

  began giving at 6:51 about how Soufleris made other products, including Orthofix’s

  biologic products, available to him to provide to Dr. Sawin. (Id. at 775:1–777:17).

  Of course, Soufleris’ and Hawley’s interactions with Dr. Sawin after they separated

  from NuVasive was one of the central issues in the Arbitration.

        13.    Three more iMessages came at 6:54:                and          It appears

  these texts were in response to Hawley’s testimony at 6:54:

        Q:     In that year, between 12/1/17 and 11/31/18, can you put a
               percentage on the amount of Alphatec hardware you used versus
               the amount of those other companies hardware you used for Dr.
               Sawin?

        A:     Between what time period?

        Q:     December of ’17 and November of ’18.

        A:     That was almost all Alphatec. I don’t know maybe 95 percent. I
               don’t know how to give an accurate number but 90, 95 maybe.

  (Id. at 777:18–778:1). Then, at 6:55, NuVasive asked Hawley if Dr. Sawin moved

  all of his biologics business to Orthofix’s Trinity product. (Id. at 778:2–5). Hawley

  acknowledged that he did so (id.) but Soufleris texted




                                            8
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 9 of 21 PageID 10094




        14.     Absolute’s cross-examination of Hawley began at 7:11. (Id. at 789:1).

  At 7:14, Soufleris texted                                         This came at the same

  time Absolute asked Hawley about signing an agreement with it and then asked

  about numerous other agreements Hawley signed with Absolute. (Id. at 791:7–

  796:1). In those follow-up questions, Hawley continuously stressed that he signed

  the agreements on behalf of his company, Hawley Medical, and not himself. (Id.).

        15.     Soufleris texted         to Hawley at 6:23. This happened at the same

  time Hawley answered “yes” to whether he informed Soufleris about Defendant

  Ryan Miller’s refusal to sign a 2017 agreement with Absolute. (Id. at 797:24-798:5).

  In addition to prompting Hawley, this iMessages caused Hawley to diverge from his

  deposition testimony, which was that he and Miller never discussed signing the 2017

  agreements. (Id. at 818:10–821:15; Dep. D. Hawley, attached as Exhibit 5, at 47:4–

  48:17)

        16.     Absolute’s examination of Hawley concluded at 7:58. (Arb. Tr.,

  Exhibit 3, at 817:16). Prior to that, at 7:38, Soufleris texted

  to Hawley. At that time, Absolute posed a question about NuVasive’s damages

  expert’s opinions that included the phrase “but for.” (Id. at 805:13–806:1).

        17.     Finally, during NuVasive’s redirect of Hawley, Soufleris at 8:10, 8:11,

  and 8:12:

               texted


                                              9
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 10 of 21 PageID 10095




            “loved” the above text; and

            texted               to Hawley.

  These texts came at a time when NuVasive was questioning Hawley about

  instruments that NuVasive believes belong to it that Hawley shipped to Alphatec.

  (Id. at 825:7–831:5).    Hawley’s testimony shows that he followed Soufleris’

  directions on how to answer these questions, noted that at least one of his answers

  “doesn’t make sense,” and then followed Soufleris’ direction to testify “Stryker” on

  the last question asked of him. (Id.)

                           III.    LAW AND ARGUMENT

        Equitable tolling permits this Court, in circumstances such as those at bar, to

  suspend the limitations period set forth in the Federal Arbitration Act (“FAA”).

  Further, extraordinary circumstances exist in this case warranting equitable tolling

  of the FAA’s three-month time period to file a motion to vacate. Finally, NuVasive

  has established that Defendants’ fraud in the Arbitration proceedings by clear and

  convincing evidence sufficient to warrant vacatur of the Arbitration Award.

     A. The Doctrine Of Equitable Estoppel Tolls The Time Period For Filing Of
        Motions To Vacate, Modify, Or Correct Provided By 9 U.S.C. § 12.

        Despite the Court granting leave to NuVasive to file the instant motion on

  November 17, 2021 (Doc. 348), NuVasive anticipates that Defendants will argue the

  three-month time period provided for in Section 12 of the FAA forecloses the relief

  it seeks. 9 U.S.C. § 12. However, this Court can (and should) utilize the doctrine of

                                           10
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 11 of 21 PageID 10096




  equitable estoppel to toll the FAA’s limitations period due to Soufleris’ and

  Hawley’s fraudulent acts and blatant disregard for the integrity of the

  litigation/arbitration process as set forth in Section III(B).

             1. The Court May Apply Equitable Tolling To 9 U.S.C. § 12.

         The doctrine of equitable tolling suspends the running of a limitations period

  if a party was prevented from asserting a claim due to inequitable circumstances.

  E.g., Julin v. Chiquita Brands Int’l, Inc. (In re Chiquita Brands Int’l, Inc.), 690 F.

  Supp. 2d 1296, 1305 (S.D. Fla. 2010); see also Barreto-Barreto v. U.S., 551 F.3d

  95, 100 (“The doctrine of equitable tolling suspends the running of [a] statute of

  limitations if a plaintiff, in the exercise of reasonable diligence, could not have

  discovered information essential to [his claim].” (alterations in original)).4 Equitable

  estoppel applies where “a plaintiff untimely files due to extraordinary circumstances

  that are both beyond her control and unavoidable even with diligence.” Belz v.

  Morgan Stanley Smith Barney, LLCI, No. 3:13-cv-636-J-34MCR, 2014 U.S. Dist.

  LEXIS 28906, at *26 (M.D. Fla. Mar. 5, 2014) (quoting Hunt v. Ga. Dep’t of Cmty.

  Affairs., 490 Fed. App’x 196, 198 (11th Cir. 2012)). Typically, equitable tolling

  “requires some misconduct, such as fraud, misinformation, or deliberate




  4
   Section 12 of the FAA is akin to a statute of limitations. Wubben v. Kirkland, No. 6:08-cv-1105-
  Orl-22DAB, 2011 U.S. Dist. LEXIS 166013, at *15 (M.D. Fla. Jul. 14, 2011).

                                                 11
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 12 of 21 PageID 10097




  concealment.” Id.5 Although not definitive on the issue, a district court in the Sixth

  Circuit recognized that “[t]he doctrine of equitable tolling may be applicable to the

  FAA statute of limitations” because “the Supreme Court has long held that the

  doctrine of equitable tolling ‘is read into every federal statute of limitations.’”

  Alpaca Shop Franchise Co. v. Roxburgh, No. 08-10048, 2008 U.S. Dist. LEXIS

  144993, at *11 (E.D. Mich. Sept. 26, 2008) (citing Berry, 92, Fed. App’x 243, 247-

  48).

         In Move, Inc. v. Citigroup Glob. Mkts., the Ninth Circuit definitively held that

  equitable tolling applies to Section 12 of the FAA. 840 F.3d 1152 (9th Cir. 2016).

  In Move, Inc. the claimant to a FINRA arbitration selected the chairperson to its

  three-member arbitration panel based, at least in part, on his tenure as a licensed

  attorney in California, New York, and Florida. Id. at 1155. Over four years after

  the panel issued its unanimous award, a periodical published a story revealing that

  the chairperson lied about his qualifications, was never a licensed attorney, and

  merely impersonated one for years. Id. The claimant in the FINRA arbitration



  5
    As this Court previously noted, ambiguity exists regarding the application of this doctrine to the
  FAA’s three-month period for motions to vacate, but—like most other federal circuits—it did not
  foreclose its application. Belz, 2014 U.S. Dist. LEXIS 28906, at *15; see also Merrill Lynch,
  Pierce, Fenner & Smith, Inc. v. Spencer, 92 Fed. App’x 243, 247-48 (6th Cir. 2004) (Hood, D.J.,
  concurring); Sargent v. Paine Webber, Jackson & Curtis, Inc., 687 F. Supp. 7, 9 (D.D.C. 1988)
  (holding that equitable tolling applied to § 12 because it akin to a statute of limitations which
  would be “subject to waiver, estoppel, and equitable tolling”); Foster v. Turley, 808 F.2d 38, 41
  (10th Cir. 1986) (finding 9 U.S.C. § 12 is “in the nature of a statute of limitations, which is subject
  to wavier”).

                                                   12
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 13 of 21 PageID 10098




  instated proceedings to vacate the arbitration award in which the Ninth Circuit held

  that equitable tolling applies to the FAA because: (i) the text of the FAA’s three-

  month period “is neither ‘unusually generous’ nor ‘unusually emphatic’ . . . [and] is

  neither detailed nor technical and is not reiterated elsewhere in the statute”; (ii) the

  structure of the FAA is not incompatible with equitable tolling; and (iii) equitable

  tolling does not undermine the basic purpose6 of the FAA (which was enacted to

  make valid and enforceable agreements for arbitration of disputes). Id. at 1157.

         Respectfully, the circumstances sub judice weigh even more heavily in favor

  of applying equitable tolling to the FAA’s limitations period than those in Move,

  Inc., where it was the actions of the non-party arbitrator justifying the underlying

  motion to vacate. Allowing parties to arbitrations to perpetrate a fraud upon those

  proceedings with the hope that their deceit remains concealed for three months after

  issuance of the award would undermine the FAA’s basic purpose, which inherently

  requires that the favored arbitrations are conducted fairly.

             2. The Court Should Equitably Toll The FAA’s Limitations Period.

         “In order to show entitlement to equitable tolling, [a party] must show that he

  was unable to timely file ‘because of extraordinary circumstances that are both




  6
    As the Move, Inc. Court pointed out, the national general policy favoring arbitration “relies on
  the assumption that the forum is fair, and therefore cannot justify special deference to arbitration
  outcomes in the face of a colorable claim that the forum was unfair in a particular case.” 840 F.3d
  at 1157-58 (quoting Berry, 92 Fed. App’x at 246).

                                                  13
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 14 of 21 PageID 10099




  beyond his control and unavoidable even with diligence.” Ruiz v. U.S., No. 6:18-cv-

  137-Orl-41TBS, 2018 U.S. Dist. LEXIS 235625, at *4 n.3 (M.D. Fla. Mar. 7, 2018)

  (quoting Jones v. U.S., 304 F.3d 1035, 1039 (11th Cir. 2002)). Stated differently, “a

  litigant seeking equitable tolling bears the burden of establishing two elements: (1)

  that he has been pursuing his rights diligently, and (2) that some extraordinary

  circumstance stood in his way.” Cerrito v. Sec’y, Dep’ of Corr., No. 8:14-cv-721-

  T-23TBM, 2015 U.S. Dist. LEXIS 139782, at *3 (M.D. Fla. Oct. 14, 2015) (quoting

  Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005)). The movant controls the first

  requirement – due diligence – but not the second – extraordinary circumstances. Id.

  “Regarding the first requirement, an applicant’s lack of diligence precludes equity’s

  operation, but the diligence required for equitable tolling purposes is “reasonable

  diligence,’ not ‘maximum feasible diligence.’” Id. (quoting Pace, 544 U.S. at 419;

  Holland v. Florida, 560 U.S. 631, 645 (2010)). Extraordinary circumstances must

  be beyond the movant’s control and unavoidable even with diligence. Id. (citing

  Sandvik v. U.S., 177 F.3d 1269, 1271 (11th Cir. 1999)). These elements are satisfied

  in this case.

         First, NuVasive diligently pursued its rights. After this Court lifted its stay

  following the Arbitration Award, NuVasive served additional discovery upon

  Soufleris and Absolute Medical Systems. It then necessitated a motion to compel

  and the Court denying Defendants’ motion for reconsideration sua sponte before


                                           14
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 15 of 21 PageID 10100




  Defendants produced the iMessages seventy (70) days after being ordered to do so.7

  (Doc. 325). Put simply, NuVasive acted with reasonable diligence in bringing the

  instant motion despite Defendants’ consistent and repeated efforts to conceal their

  fraud in the Arbitration in an attempt to “run out the clock” on the FAA’s three-

  month limitations period. The first prong of equitable tolling is satisfied.

         Next, extraordinary circumstances exist warranting equitable tolling of the

  Section 12 of the FAA in this case. Soufleris’ and Hawley’s actions are precisely

  the type of “misconduct, such as fraud, misinformation, or deliberate concealment”

  sufficient to satisfy equitable tolling. Belz, 2014 U.S. Dist. LEXIS 28906, at *26.

  Indeed, this Court found this requirement satisfied in Luna v. Colvin, where an

  agency inadvertently mailed its decision—which commenced the running of the

  applicable limitations period—to the petitioner’s old residence and old counsel. No.

  8:16-CV-2010-T-27MAP, 2016 U.S. Dist. LEXIS 179778, at *6 (M.D. Fla. Nov.

  30, 2016). Respectfully, the fact that Soufleris directed Hawley how to answer

  questions during the Arbitration in real time—despite his sworn oath that no


  7
    Of course, this timeline ignores the fact that the iMessages were always responsive to other
  discovery requests served on Defendants years ago, which responses they failed to supplement.
  NuVasive requested, in discovery, communications Soufleris exchanged with Hawley “from
  November 30, 2017, to the present that reference or relate to Absolute, AMS, Alphatec, or any
  other spinal hardware or biologics company, or the business of marketing, selling, and/or
  distributing spinal hardware and/or biologics products” on August 6, 2018. The iMessages are
  responsive to these initial requests, and Soufleris was obligated to supplement his production even
  in the absence of NuVasive’s additional discovery and/or Judge Kelly’s Orders. Fed. R. Civ. P.
  26(e)(1)(A); e.g., U.S. ex rel. Holland v. Davita, Inc., No. 6:17-cv-1592-RBD-GJK, 2021 U.S.
  Dist. LEXIS 161184, at *7 (M.D. Fla. Jul 20, 2021).

                                                  15
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 16 of 21 PageID 10101




  authorized person (i.e., Soufleris) was communicating with him during his

  testimony—is so egregious that it barely warrants exposition. Defendants should

  not be permitted to hide behind NuVasive’s inability, despite reasonable diligence,

  to discover the fraud they perpetrated on the Arbitration until after the FAA’s three-

  month limitations period expired to avoid vacatur of the Arbitration Award. As

  Defendants’ conduct is functionally equivalent to Hawley wearing an earpiece that

  enables Soufleris to feed him answers while testifying on the stand in this Court,

  extraordinary circumstances exist to support equitable tolling in this instance.

      B. The Court Should Vacate The Arbitration Award Because It Was
         Procured By Corruption, Fraud, And/or Undue Means.

         The FAA provides that a District Court may vacate an arbitration award for

  four (4) reasons, including “where the award was procured by corruption, fraud, or

  undue means.”8 9 U.S.C. § 10(a)(1). Vacatur of an arbitration award based on fraud

  “requires: 1) that the movant establish fraud by clear and convincing evidence; 2)

  that the fraud must not have been discoverable upon the exercise of due diligence

  prior to or during the arbitration; and 3) that the fraud materially related to an issue

  in the arbitration. Floridians for Solar Choice v. PCI Consultants, Inc., 314 F. Supp.


  8
    NuVasive notes at the outset of this analysis that it is “well settled that this Court retains
  jurisdiction to entertain” its motion to vacate. See, e.g., Procraft of S. Fla., LLC v. Kryton Corp.,
  Inc., No. 03-80975-Civ-Hurley/Hopkins, 2006 U.S. Dist. LEXIS 106908, at *4-5 (S.D. Fla. Jan.
  19, 2006) (citing Collins v. D.R. Horton, Inc., 361 F. Supp. 2d 1085, 1091 (D. Ariz. 2005) (“Courts
  have held that once a court obtains jurisdiction in an action and enters an order compelling
  arbitration, that court retains jurisdiction with respect to subsequent motions to confirm or
  vacate.”)).

                                                  16
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 17 of 21 PageID 10102




  3d 1346, 1355 (quoting Bonar v. Dean Witter Reynolds, Inc., 835 F.2d 1378, 1383

  (11th Cir. 1988) (internal quotations omitted)). The final prong of this analysis does

  not require the movant to establish that the end result of the proceedings (i.e., the

  Arbitration Award) would have been different absent the fraud. Bonar, 835 F.2d at

  1383.

             1. NuVasive established Defendants’ fraud by clear and convincing
                evidence.

          There can be no reasonable doubt that NuVasive carried its evidentiary burden

  in establishing Defendants’ fraudulent conduct during the Arbitration. As set forth

  in minute-by-minute detail in Section II, Soufleris improperly coached, directed, and

  encouraged Hawley’s testimony to comport with Absolute Medical’s position in the

  Arbitration.9 In short, NuVasive met its burden to establish Soufleris’ and Hawley’s

  fraud sufficient to vacate the Arbitration Award.

             2. Defendants’ fraud was not discoverable prior to or during the
                Arbitration.

          Next, NuVasive could not have discovered Defendants’ fraud until the

  production of the iMessages on November 4, 2021. It goes without saying that

  NuVasive could not have discovered the fraud prior to the Arbitration as it was yet




  9
   See Crutchfield v. Wainwright, 803 F.2d 1103, 1110 (11th Cir. 1986) (“Coaching has come to
  mean improperly directing a witness’s testimony in such a way as to have it conform with, conflict
  with, or supplement the testimony of other witnesses.”), overruled on other grounds by Perry v.
  Leeke, 488 U.S. 272 (1989).

                                                 17
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 18 of 21 PageID 10103




  to occur. Furthermore, because the Arbitration was conducted remotely via Zoom,

  there is no way NuVasive could have discovered the fraud during the proceedings.

  In fact, NuVasive’s representatives and its counsel were physically present at

  counsel’s office in Nashville, Tennessee, whereas Defendant Soufleris was located

  with Absolute Medical’s counsel in Atlanta, Georgia (and not visible onscreen

  during this point of the proceedings), and Defendant Hawley was located in the

  Orlando, Florida area. (Decl. C. Cardwell, Exhibit 1, ¶¶ 5–6). Moreover, Hawley

  stated, under oath, that no unauthorized person can communicate with him during

  the course of his testimony. (Arb. Tr., Hawley Test., Exhibit 3, 754:20–755:4).

  NuVasive took Hawley at his word when he gave that oath. Accordingly, there was

  simply no way NuVasive could have discovered Soufleris’ real-time electronic

  communications with Hawley during the Arbitration on December 16, 2020.

           3. Defendants’ fraud materially related to issues in the arbitration.

        Finally, Defendants’ fraud materially related to issues at stake in the

  Arbitration. This Court is well-versed in those issues as some overlap with those to

  be tried by this Court on February 7, 2022. Specifically, Hawley’s tainted testimony

  related to, among others: (1) the nature of his contractual arrangements with

  Absolute Medical; (2) his sales activities on behalf of Alphatec/Absolute Medical

  Systems after resigning from Absolute Medical; and (3) damages NuVasive

  contended it incurred from lost sales to Dr. Paul Sawin.       As such, Hawley’s


                                          18
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 19 of 21 PageID 10104




  testimony—surreptitiously elicited at the direction and encouragement of

  Soufleris—was materially related to the issues before the panel in the Arbitration.

        In sum, each of the three requirements set forth in Bonar are satisfied in this

  case. Therefore, vacatur of the Arbitration Award is appropriate.

                                  IV.   CONCLUSION

        Our judicial system relies on witnesses to tell the truth when they testify in

  proceedings, whether they be in depositions, at trial, or in arbitration. For this

  reason, each witness is sworn to tell the truth prior to testifying. In this case, Hawley

  not only swore to tell the truth, but also that he was not being assisted during his

  testimony. With Soufleris’ direction and assistance, Hawley violated those oaths.

  This Court should not condone or excuse this behavior. Rather, it should enter an

  order vacating the Arbitration Award and awarding it any such other further and

  general relief as it deems just and appropriate.




                                             19
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 20 of 21 PageID 10105




  Dated: November 22, 2021     Respectfully submitted,



                               s/ Christopher W. Cardwell
                               R. Craig Mayfield (Fla. Bar No. 0429643)
                               Cmayfield@bradley.com
                               Diana N. Evans (Fla. Bar No. 98945)
                               Dnevans@bradley.com
                               Bradley Arant Boult Cummings LLP
                               100 North Tampa Street, Suite 2200
                               Tampa, Florida 33602
                               Tel: (813) 559-5500
                               Fax: (813) 229-5946

                               Christopher W. Cardwell, Esq. (pro hac vice)
                               ccardwell@gsrm.com
                               Mary Taylor Gallagher, Esq. (pro hac vice)
                               mtgallagher@gsrm.com
                               M. Thomas McFarland, Esq. (pro hac vice)
                               tmcfarland@gsrm.com
                               GULLETT, SANFORD, ROBINSON &
                               MARTIN, PLLC
                               150 Third Avenue South, Suite 1700
                               Nashville, TN 37201
                               Tel: (615) 244-4994
                               Fax: (615) 256-6339

                                Attorneys for Plaintiff, NuVasive, Inc.




                                        20
Case 6:17-cv-02206-CEM-GJK Document 353 Filed 11/22/21 Page 21 of 21 PageID 10106




                             CERTIFICATE OF SERVICE

         I hereby certify that on November 22, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic
  filing system to all parties indicated on the electronic filing receipt. All other parties
  will be served by regular U.S. Mail. Parties may access this filing through the Court’s
  electronic filing system. The party or parties served are as follows:

   Busch, Mills & Slomka, LLP                     Accel IP Law, PLLC

   Bryan E. Busch                                 Stephen D. Milbrath
   Email: bb@buschmills.com                       Email: smilbrath@acceliplaw.com
   Laura H. Mirmelli                              1137 Edgewater Drive
   Email: lm@ buschmills.com                      Orlando, FL 32804
   6400 Powers Ferry Road, N.E., Suite 391
   Atlanta, GA 30339                              Attorney for Absolute Medical Systems,
                                                  LLC and Absolute Medical, LLC
   Christopher Y. Mills
   Email: cm@ buschmills.com
   319 Clematis Street, Suite 109
   West Palm Beach, FL 33401

   Attorneys for Defendants


                                    s/ Christopher W. Cardwell




                                             21
